                Case 2:20-cr-00083-RSL Document 52 Filed 10/13/21 Page 1 of 2




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                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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      UNITED STATES OF AMERICA,                                 Case No. CR20-083RSL
10
                             Plaintiff,                         ORDER GRANTING
11
                        v.                                      UNOPPOSED MOTION TO
12                                                              CONTINUE TRIAL AND
      DUNCAN GIBSON,                                            PRETRIAL MOTIONS DUE
13
                             Defendant.                         DATE
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15
16         This matter comes before the Court on defendant’s “Unopposed Motion to Continue Trial

17 and Pretrial Motions Due Date.” Dkt. # 50. Having considered the facts set forth in the motion,
18 and defendant’s knowing and voluntary waiver, Dkt. # 51, the Court finds as follows:
19         1.      The Court adopts the facts set forth in the unopposed motion: in particular, that

20 defense counsel needs additional time to advise defendant about a potential trial and any
21 applicable pretrial motions or a potential resolution, and that further investigative efforts may
22 also be required. The Court accordingly finds that a failure to grant a continuance would deny
23 counsel, and any potential future counsel, the reasonable time necessary for effective
24 preparation, taking into account the exercise of due diligence, within the meaning of 18 U.S.C.
25 § 3161(h)(7)(B)(iv).
26         2.      The Court finds that a failure to grant a continuance would likely result in a

27 miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i).
28
     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 1
                 Case 2:20-cr-00083-RSL Document 52 Filed 10/13/21 Page 2 of 2




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            3.      The Court finds that the additional time requested between November 8, 2021, and
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     the proposed trial date of April 11, 2022, is a reasonable period of delay. The Court finds that
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     this additional time is necessary to provide defense counsel reasonable time to prepare for trial,
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     as defendant has requested more time to prepare for trial, to continue to investigate the matter, to
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     gather evidence material to the defense, and to consider possible defenses. The additional time
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 7 requested between the current trial date and the new trial date is necessary to provide counsel for
 8 the defendant the reasonable time necessary to prepare for trial, considering all of the facts set
 9 forth above.
10        4.    The Court further finds that this continuance would serve the ends of justice, and

11 that these factors outweigh the best interests of the public and defendant in a speedier trial,
12 within the meaning of 18 U.S.C. § 3161(h)(7)(A).
13          5.      Defendant has signed a waiver indicating that he has been advised of his right to a

14 speedy trial and that, after consulting with counsel, he has knowingly and voluntarily waived
15 that right and consented to the continuation of his trial to a date up to and including April 30,
16 2022, Dkt. # 51, which will permit his trial to start on April 11, 2022.
17       IT IS HEREBY ORDERED that the trial date shall be continued from November 8,

18 2021 to April 11, 2022, and pretrial motions are to be filed no later than March 14, 2022;
19       IT IS FURTHER ORDERED that the period of time from the current trial date of

20 November 8, 2021, up to and including the new trial date, shall be excludable time pursuant to
21 the Speedy Trial Act, 18 U.S.C. § 3161, et seq. The period of delay attributable to this filing and
22 granting of this motion is excluded for speedy trial purposes pursuant to 18 U.S.C.
23 §§ 3161(h)(1)(D), (h)(7)(A), and (h)(7)(B).
24          DATED this 13th day of October, 2021.
25
26
27                                                     A
                                                       Robert S. Lasnik
28                                                     United States District Judge
     ORDER GRANTING UNOPPOSED
     MOTION TO CONTINUE TRIAL - 2
